Case 4:19-cv-00100-ALM-KPJ Document 39 Filed 04/02/19 Page 1 of 10 PageID #: 433




                          United States District Court
                            FOR THE EASTERN DISTRICT OF TEXAS
                                    SHERMAN DIVISION

 SECURITIES AND EXCHANGE COMMISSION,      §
                                          §
        Plaintiff,                        §
                                          §
 v.                                       §
                                          §
 PHILLIP MICHAEL CARTER, Individually and §
 d/b/a NORTH FORTY DEVELOPMENT CAPITAL § Case No.:
 ACCOUNT, BOBBY EUGENE GUESS, RICHARD     § 4:19-cv-00100-ALM-KPJ
 GREGORY TILFORD, NORTH-FORTY             §
 DEVELOPMENT LLC, NORTH FORTY             §
 DEVELOPMENT, LLC, TEXAS CASH COW, LLC, §
 f/k/a TEXAS CASH COW INVESTMENTS, LLC,   §
 and TEXAS FIRST FINANCIAL, LLC,          §
                                          §
 Defendants, and                          §
                                          §
 FRISCO WADE CROSSING DEVELOPMENT         §
 PARTNERS, LLC, MCKINNEY EXECUTIVE        §
 SUITES AT CRESCENT PARC DEVELOPMENT      §
 PARTNERS, LLC, CHRISTIAN CUSTOM HOMES, §
 LLC, and DOUBLE DROPTINE RANCH, LLC      §
                                          §
 Relief Defendants.                       §
                    ORDER GOVERNING PROCEEDINGS

        This Order shall govern proceedings in this case. Counsel should immediately read the
 Amendments to the Federal Rules of Civil Procedure, effective December 1, 2015, as many
 deadlines have been shortened. The following deadlines are hereby set:

        1.     Rule 26(f) attorney conference on or before: April 20, 2019

        2.     Complete initial mandatory disclosure required by this Order: April 30, 2019

        3.     File joint report of attorney conference: May 4, 2019. This should follow initial
               mandatory disclosures, so a realistic proposal regarding depositions and other
               discovery can be included.

        4.     The case is SET for a Rule 16 management conference on Wednesday, June 12,
               2019, at 1:30 p.m. before the United States Magistrate Judge in Courtroom 108,
               7940 Preston Road, Plano, Texas 75024. Lead counsel for each party, with
               authority to bind their respective clients, and all unrepresented parties, shall be
Case 4:19-cv-00100-ALM-KPJ Document 39 Filed 04/02/19 Page 2 of 10 PageID #: 434



                  present. Continuance of the management conference will not be allowed absent a
                  showing of good cause1.

                               RULE 26(F) ATTORNEY CONFERENCE

         Rule 26(f) requires attorneys of record and all unrepresented parties to confer and attempt
 in good faith to agree on a proposed scheduling order (see Appendix 1) and to electronically file a
 joint report outlining their proposals. The conference may be by telephone.

         Before commencing the Rule 26(f) conference, counsel must discuss settlement options
 with their clients, including whether an offer or demand should be made at the Rule 26(f) attorney
 conference. Counsel should also inquire whether their clients are amenable to trial before a United
 States magistrate judge. Parties willing to consent should file the appropriate form electronically
 (see form on Eastern District of Texas website) as soon as possible, so that the case can be reset
 for management conference before the magistrate judge to whom the case is assigned.

         The parties must include the following matters in the joint conference report:

         1.       A brief factual and legal synopsis of the case.

         2.       The jurisdictional basis for this suit.

         3.       A list of the correct names of the parties to this action and any anticipated additional
                  or potential parties.

         4.       A list of any cases related to this case pending in any state or federal court,
                  identifying the case numbers and courts along with an explanation of the status of
                  those cases.

         5.       Confirm that initial mandatory disclosure required by Rule 26(a)(1) and this order
                  has been completed.

         6.       Proposed scheduling order deadlines. Appendix 1 has the standard deadlines.
                  Explain any deviations from standard schedule. Now is the time to inform the
                  Court of any special complexities or need for more time before the trial setting.



 1
  Before the case management conference, counsel and unrepresented parties should review the most recent versions
 of the Federal Rules of Civil Procedure and the Local Rules for the Eastern District of Texas. The Local Rules are
 available on the Eastern District of Texas website (www.txed.uscourts.gov).

                                                         2
Case 4:19-cv-00100-ALM-KPJ Document 39 Filed 04/02/19 Page 3 of 10 PageID #: 435



             The standard schedule is planned so that there is time to rule on dispositive motions
             before parties begin final trial preparation.

       7.    Describe in accordance with Rule 26(f):

             (i)     The subjects on which discovery may be needed, when discovery should be
                     completed, and whether discovery should be conducted in phases or be
                     limited to or focused on particular issues;

             (ii)    Any issues relating to disclosure or discovery of electronically stored
                     information (“ESI”), including the form or forms in which it should be
                     produced (whether native or some other reasonably usable format) as well
                     as any methodologies for identifying or culling the relevant and
                     discoverable ESI. Any disputes regarding ESI that counsel for the parties
                     are unable to resolve during conference must be identified in the report;

             (iii)   Any agreements or disputes relating to asserting claims of privilege or
                     preserving discoverable information, including electronically stored
                     information and any agreements reached under Federal Rule of
                     Evidence 502 (such as the potential need for a protective order and any
                     procedures to which the parties might agree for handling inadvertent
                     production of privileged information and other privilege waiver issues). A
                     party asserting that any information is confidential should immediately
                     apply to the Court for entry of a protective order;

             (iv)    Any changes that should be made in the limitations on discovery imposed
                     by the Rules, whether federal or local, and any other limitations that should
                     be imposed; and

             (v)     Whether any other orders should be entered by the Court pursuant to Federal
                     Rule of Civil Procedure 26(c) or 16(b), (c).

       8.    State the progress made toward settlement, and the present status of settlement
             negotiations, including whether a demand and offer has been made. If the parties
             have agreed upon a mediator, also state the name, address, and phone number of
             that mediator, and a proposed deadline for mediation. An early date is encouraged
             to reduce expenses. The Court will appoint a mediator if none is agreed upon.

       9.    The identity of persons expected to be deposed.

                                               3
Case 4:19-cv-00100-ALM-KPJ Document 39 Filed 04/02/19 Page 4 of 10 PageID #: 436




        10.     Estimated trial time and whether a jury demand has been timely made.

        11.     The names of the attorneys who will appear on behalf of the parties at the
                management conference (the appearing attorney must be an attorney of record and
                have full authority to bind the client).

        12.     Whether the parties jointly consent to trial before a magistrate judge.

        13.     Any other matters that counsel deem appropriate for inclusion in the joint
                conference report or that deserve the special attention of the Court at the
                management conference.
                                        DISCOVERY

         Initial mandatory disclosure pursuant to Rule 26(a)(1) shall be completed not later than
 10 days after the deadline for the Rule 26 attorney conference and shall include the following,
 in addition to information required by Rule 26(a)(1):

        1.      The correct names of the parties to the action.

        2.      The name and, if known, address and telephone number of any potential parties to
                the action.

        3.      The name and, if known, the address and telephone number of persons having
                knowledge of facts relevant to the claim or defense of any party, a brief
                characterization of their connection to the case and a fair summary of the substance
                of the information known by such person. This may be combined with the list of
                persons required under Rule 26(a)(1)(A)(i) so two lists are not needed.

        4.      The authorizations described in Local Rule CV-34.

        5.      A copy of all documents, electronically stored information, witness statements, and
                tangible things in the possession, custody, or control of the disclosing party that are
                relevant to the claim or defense of any party. This may be combined with
                disclosures under Rule 26(a)(1)(A)(ii) so duplication is avoided. In cases involving
                a disproportionate burden of disclosure of a large number of documents on one
                party, the parties may agree on prior inspection to reduce the need for copy. Parties
                are encouraged to agree upon provision of information by electronic means.


                                                  4
Case 4:19-cv-00100-ALM-KPJ Document 39 Filed 04/02/19 Page 5 of 10 PageID #: 437



        See Local Rule CV-26(d) for meaning of “relevant to the claim or defense of any party.”
 A party that fails to timely disclose such information will not, unless such failure is harmless,
 be permitted to use such evidence at trial, at a hearing, or in support of a motion. A party is
 not excused from making its disclosures because it has not fully completed its investigation of the
 case. Moreover, the proportionality standard set forth in Rule 26(b)(2)(C) should be applied in
 each case when formulating a discovery control plan. To further the application of the
 proportionality standard in discovery, requests for production of ESI and related responses should
 be reasonably targeted, clear, and as specific as practicable.

         Early Rule 34 requests may be delivered in compliance with Rule 26(d)(2). See Fed. R.
 Civ. P. 26(d)(2). However, these requests are not considered served until the Rule 26(f) conference
 has occurred. All other discovery shall not commence until the Rule 26(f) conference. See Fed.
 R. Civ. P. 26(d), 34. Depositions may be taken, and initial mandatory disclosure shall occur,
 before the Rule 16 management conference, so that counsel are in a position to intelligently discuss
 additional required discovery, and scheduling of the case.

        Following the management conference, the Court will enter a scheduling order setting
 deadlines controlling disposition of the case. If the Court concludes that a management
 conference is not necessary after receiving the parties’ 26(f) report, it may enter a scheduling
 order and cancel the management conference.

          The fact that the scheduling order will have a deadline for completion of discovery is NOT
 an invitation, or authorization, to withhold documents or information required to be disclosed as
 part of initial mandatory disclosure, under the guise of “supplementation.” Attorneys are expected
 to review their client’s files and to conduct at least preliminary interviews of their clients and
 potential witnesses under their control, so as to fully comply with the initial mandatory disclosure
 requirements by the deadline set in this order. This will allow experts to be timely identified and
 prepared to testify, witnesses to be efficiently deposed, and any follow-up paper discovery to be
 completed by the deadline to be set for completion of discovery. The Court expects that, in most
 cases, after reading the pleadings and having a frank discussion of the issues and discovery during
 the Rule 26 attorney conference, a review of the opposing party’s initial disclosures should alert
 an attorney to any remaining information which should have been disclosed, so that such
 information can be provided before the Rule 16 management conference.

                                    DISCOVERY DISPUTES

        A magistrate judge is available during business hours to immediately hear discovery
 disputes and to enforce provisions of the rules. The hotline is an appropriate means to obtain an
 immediate ruling on whether a discovery request is relevant to the claims or defenses and on

                                                  5
Case 4:19-cv-00100-ALM-KPJ Document 39 Filed 04/02/19 Page 6 of 10 PageID #: 438



 disputes which arise during depositions. The hotline number is (903) 590-1198. See Local Rule
 CV-26(e).

                               CONTESTED MOTION PRACTICE

        Counsel and parties shall comply with Local Rules CV-7, 10, 11, and 56, in addition to the
 Federal Rules of Civil Procedure. Local Rule CV-7 requires you to attach affidavits and other
 supporting documents to the motion or response. Labeled tabs on the attachments to the courtesy
 copy will make it easier to find them.

        If a document filed electronically exceeds twenty (20) pages in length, including
 attachments, a paper copy of the filed document must be sent contemporaneously to Judge
 Mazzant's chambers in Sherman.

         Pursuant to Local Rule CV-7(b), highlight in the courtesy copy, the portions of the
 affidavits or other supporting documents which are cited in your motion or response.

         Any reply or sur-reply must be filed in accordance with Local Rule CV-6 and Local Rule
 CV-7(f). The parties are reminded that “[t]he court need not wait for the reply or sur-reply before
 ruling on the motion.” Local Rule CV-7(f) (emphasis added).

                        SAFEGUARDING PERSONAL INFORMATION

         The Judicial Conference of the United States has implemented policies to protect sensitive
 private information about parties, witnesses, and others involved in a civil, criminal, or bankruptcy
 case. To that end, all documents filed with the Court and made available to the public, whether
 electronically or on paper, should limit certain information as follows:

         •               for Social Security numbers, use only the last four digits;
         •               for financial account numbers, use only the last four digits;
         •               for names of minor children, use only their initials;
         •               for dates of birth, use only the year; and
         •               (in criminal cases) for home addresses, use only the city and state.

          If such information is elicited during testimony or other court proceedings, it will become
 available to the public when the official transcript is filed at the courthouse unless, and until, it is
 redacted. The better practice is for you to avoid introducing this information into the record in the
 first place. Please take this into account when questioning witnesses or making other statements in
 court.

                                                    6
    Case 4:19-cv-00100-ALM-KPJ Document 39 Filed 04/02/19 Page 7 of 10 PageID #: 439



                                           FAILURE TO SERVE

             Any defendant who has not been served with the summons and complaint within 90 days
     after the filing of the complaint shall be dismissed, without further notice, unless prior to such
     time the party on whose behalf such service is required shows good cause why service has not
     been made. See Fed. R. Civ. P. 4(m).

                                          FICTITIOUS PARTIES

             The name of every party shall be set out in the complaint. See Fed. R. Civ. P. 10(a). The
     use of fictitious names is disfavored by federal courts. Doe v. Blue Cross & Blue Shield, 112 F.3d.
     869 (7th Cir. 1997). It is hereby ORDERED that this action be DISMISSED as to all fictitious
     parties. Dismissal is without prejudice to the right of any party to take advantage of the provisions
     of Fed. R. Civ. P. 15(c).

                                               SETTLEMENT

            Plaintiff’s counsel shall immediately notify the Court upon settlement.

                                              COMPLIANCE

             Attorneys and pro se litigants who appear in this court must comply with the deadlines set
     forth in the Federal Rules of Civil Procedure, the Local Rules for the Eastern District of Texas and
     this order. A party is not excused from the requirements of a Rule or scheduling order by
     virtue of the fact that dispositive motions are pending, the party has not completed its
.    investigation, the party challenges the sufficiency of the opposing party’s disclosure, or
     because another party has failed to comply with this order or the rules.

            Failure to comply with relevant provisions of the Local Rules, the Federal Rules of Civil
     Procedure, or this order may result in the exclusion of evidence at trial, the imposition of sanctions
     by the Court, or both. Counsel are reminded of Local Rule AT-3, particularly AT-3(I) & (J).

             SIGNED this 2nd day of April, 2019.

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                                                    ____________________________________
                                                    KIMBERLY C. PRIEST JOHNSON
                                                    UNITED STATES MAGISTRATE JUDGE
                                                       7
Case 4:19-cv-00100-ALM-KPJ Document 39 Filed 04/02/19 Page 8 of 10 PageID #: 440



                                                       Appendix 1

                            PROPOSED SCHEDULING ORDER DEADLINES

          The following actions shall be completed by the date indicated.1 (The times indicated are
 the standard for most cases. Counsel should be prepared to explain the need for requested changes)

 ____________________                         Deadline for motions to transfer
 (1 week after mgmt conf.)

 ____________________                         Deadline to add parties
 (6 weeks after mgmt conf.)

 ____________________                          Mediation must occur by this date.
 six weeks prior to mediation ddl              Deadline by which the parties shall notify the Court of the
                                               name, address, and telephone number of the agreed-upon
                                               mediator, or request that the Court select a mediator, if they
                                               are unable to agree on one.

 ______________ ______                         Plaintiff’s disclosure of expert testimony pursuant to Fed.
 (10 weeks after mgmt conf.)                   R. Civ. P. 26(a)(2) and Local Rule CV-26(b)

 _________________ ___                         Deadline for Plaintiff to file amended pleadings
 (12 weeks after mgmt conf.)                   (A motion for leave to amend is required.)

 _______ _____________                         Defendant’s disclosure of expert testimony pursuant to Fed.
 (14 weeks after mgmt conf.)                   R. Civ. P. 26(a)(2) and Local Rule CV-26(b)

 ____________________                          Deadline for Defendant’s final amended pleadings
 (14 weeks after mgmt conf.)                   (A motion for leave to amend is required.)

 6 weeks after disclosure                     Deadline to object to any other party’s expert witnesses.
 of an expert is made                         Objection shall be made as a motion to strike or limit
                                              expert testimony and shall be accompanied by a copy
                                              of the expert’s report in order to provide the court with
                                              all the information necessary to make a ruling on any
                                              objection


 ____________________                          Deadline for motions to dismiss, motions for summary
 (14 weeks after mgmt conf.                    judgment, or other dispositive motions.
 but no later than 110 days prior
 to deadline for submission of
 Joint Final Pretrial Order)

 1
  If a deadline falls on a Saturday, Sunday, or a legal holiday as defined in Fed. R. Civ. P. 6, the effective date is the
 first federal court business day following the deadline imposed.

                                                             8
Case 4:19-cv-00100-ALM-KPJ Document 39 Filed 04/02/19 Page 9 of 10 PageID #: 441




 _________________ ___                        All discovery shall be commenced in time to be completed
 (24 weeks after mgmt conf.)                  by this date.


 _____________________                 Notice of intent to offer certified records
 (6 weeks before final pretrial conf.)


 ____________________                  Counsel and unrepresented parties are each responsible for
 (6 weeks before final pretrial conf.) contacting opposing counsel and unrepresented parties to
                                       determine how they will prepare the Joint Final Pretrial
                                       Order and Joint Proposed Jury Instructions and Verdict
                                       Form (or Proposed Findings of Fact and Conclusions of Law
                                       in non-jury cases).

 ____________ ________                 Video Deposition Designation due. Each party who
 (5 weeks before final pretrial conf.) proposes to offer a deposition by video shall serve on all
                                       other parties a disclosure identifying the line and page
                                       numbers to be offered. All other parties will have seven
                                       calendar days to serve a response with any objections and
                                       requesting cross examination line and page
                                       numbers to be included. Counsel must consult on any
                                       objections and only those which can not be resolved shall
                                       be presented to the court. The party who filed the initial
                                       Video Deposition Designation is responsible for
                                       preparation of the final edited video in accordance with all
                                       parties designations and the court’s rulings on objections.

 ______ ______________                 Motions in limine due
 (30 days before final pretrial conf.) File Joint Final Pretrial Order (See www.txed.uscourts.gov).

 _                         _           Response to motions in limine due2
 (2 weeks before final pretrial conf.) File objections to witnesses, deposition extracts, and
                                       exhibits, listed in pre-trial order.3 (This does not extend
                                       deadline to object to expert witnesses.)


 2
  This is not an invitation or requirement to file written responses. Most motions in limine can be decided without a
 written response. But, if there is particularly difficult or novel issue, the Court needs some time to review the
 matter. To save time and space respond only to items objected to. All others will be considered to be agreed.
 Opposing counsel shall confer in an attempt to resolve any dispute over the motions in limine within five calendar
 days of the filing of any response. The parties shall notify the court of all the issues which are resolved.
 3
  Within five calendar days after the filing of any objections, opposing counsel shall confer to determine whether
 objections can be resolved without a court ruling. The parties shall notify the court of all issues which are resolved.
 The court needs a copy of the exhibit or the pertinent deposition pages to rule on the objection.

                                                            9
Case 4:19-cv-00100-ALM-KPJ Document 39 Filed 04/02/19 Page 10 of 10 PageID #: 442



                                 File Proposed Jury Instructions/Form of Verdict (or
                                 Proposed Findings of Fact and Conclusions of Law)

  Date will be set by Court.     If numerous objections are filed the court may set a
  Usually within 10 days prior   hearing to consider all pending motions and objections.
  to final pretrial conf.

  March 31, 2020                 Final Pretrial Conference at 9:00 a.m. at the Paul Brown
                                 United States Courthouse located at 101 East Pecan Street in
                                 Sherman, Texas. Date parties should be prepared to try
                                 case. All cases on the Court’s Final Pretrial Conference
                                 docket for this day have been set at 9:00 a.m. However,
                                 prior to the Final Pretrial Conference date, the Court will set
                                 a specific time between 9:00 a.m. and 4:00 p.m. for each
                                 case, depending on which cases remain on the Court’s
                                 docket.

  to be determined               9:30 a.m. Jury selection and trial (or bench trial) at the Paul
                                 Brown United States Courthouse located at 101 East Pecan
                                 Street in Sherman, Texas. Cases that remain for trial
                                 following the Court’s Pretrial docket will be tried between
                                 May 1, 2020 and May 29, 2020. A specific trial date in this
                                 time frame will be selected at the Final Pretrial Conference.




                                            10
